Case 1:16-cr-10094-LTS Document 518-18 Filed 10/10/18 Page 1 of 2

im Tavior

August 25, 2018

The Honorable Leo T. Sorokin
United States District Court

john Joseph Moakley Courthouse
1 Courthouse Way

Boston, MA 02210

Re: Ross McLellan

Dear Judge Sorokin:

I had the pleasure of first meeting Ross when we became neighbors in October of
2005. My wife and I had chosen this neighborhood because of its reputation as being
very family friendly with many young children of similar ages to our own. During a
holiday gathering during that first year, Ross came over to introduce himself to us,
wanting to make sure that we felt welcome and included. We learned that his oldest
child, = and our son, were the same age. This began a long-standing
friendship between our two families.

As the boys became older, they attended the same school and participated in many
of the same activities. As they began playing sports, both Ross and | volunteered to
coach the boy’s teams. Ross, especially, would always be the first person raising his
hand to help out. He is incredibly generous of his time, and has spent countless
hours on the fields and in the rink coaching at all levels. We did our best to try to be
on the same team and coach together. Over the years we have coached many soccer
and baseball teams, and Ross has coached in hockey for multiple years. You can
learn a lot about someone by watching them lead a team of young children, and |
think how they react in certain circumstances speaks volumes about that individual.
Accordingly, | wanted to pass along two stories | believe exemplify Ross and his
character.

When our sons were both 9 years old and in Little League, Ross and I coached a
team together. This team was not the most talented group of baseball players, and
we were lucky to win a few games during the regular season. Throughout the year,
though, Ross was incredibly encouraging to all of the players, urging them to believe
in themselves, and to never give up. This carried through to the playoffs, when we
Case 1:16-cr-10094-LTS Document 518-18 Filed 10/10/18 Page 2 of 2

unexpectedly won our first game. Under Ross’s leadership we won the next game,
and the next. In fact, Ross led the team to 4 straight victories, and we ultimately
made the Championship game. | remember vividly how each of the players would
gravitate to Ross and his positivity. He made the players believe in themselves, and
never let them get down if they made an error or didn’t get a hit. Despite the fact we
lost the Championship Game (on a bad umpire call...), Ross never let the players feel
bad. In fact, our team was just happy about making it as far as we did versus the
players on the team that won. This is what makes Ross special, his caring for others
and setting such a positive example.

More specifically, though, Ross is an incredible father who takes others under his
wing. My son is a perfect example of his paternalistic nature {i enthusiasm for
hockey has always outweighed his abilities. Hockey is a game where natural talents
are necessary to truly excel in this sport, and sadly {wasn’t gifted with those
skills. He’s always struggled to keep up, and has worked very hard over the years to
improve his game. Ross has coached on a number of his teams, and has been his
constant advocate during countless seasons. Hockey team placements in Hingham
have been given an unhealthy importance, and are often driven by non-performance
issues. Over the years Ross had always been [biggest cheerleader, speaking up
for him and highlighting his hard work. This has helped {jjmake appropriate
teams he wouldn’t have otherwise. wasn’t the only player Ross advocated for,
though, as there were a number of others he went to bat for, ensuring their hard
work and efforts were recognized and rewarded. I can’t tell you how appreciated
that is as a parent, to have your child’s efforts validated. We didn’t ask Ross to do
that; he took it upon himself to speak up for these kids who didn’t have a voice
themselves. He wasn’t looking for anything in return, just doing what he felt was
right.

| have served in senior leadership roles in business and charitable entities. | have
interacted with countless individuals over the years and seen how people react
during all different circumstances. I can say without hesitation that Ross’s character,
selflessness, empathy, and kindness for others is exemplary. I have seen firsthand
what a wonderful father and husband he is, and I am proud to call him a friend.

| am happy to provide any additional information you would find helpful. Thank you
for your consideration.

Respectfully,

